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 8                                  UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10

11 DEIBEL LABORATORIES OF                   Case No.: 2:20-cv-4371
   ILLINOIS, INC., an Illinois Corporation,
12                                          COMPLAINT FOR DAMAGES OF
                                            PLAINTIFF DEIBEL
13                                          LABORATORIES OF ILLINOIS,
                                Plaintiff,  INC.; DEMAND FOR JURY TRIAL
14
             v.
15
   WORLDWIDE EXPRESS
16 OPERATIONS, LLC, a Delaware
   Corporation, and DOES 1 to 100,
17 inclusive,

18
                                         Defendants.
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                                              COMPLAINT FOR DAMAGES
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 1           Plaintiff DEIBEL LABORATORIES OF ILLINOIS, INC. complains as
 2   follows:
 3           1.       Plaintiff DEIBEL LABORATORIES OF ILLINOIS, INC. is and at all
 4   relevant times was an Illinois corporation in good.
 5           2.       Plaintiff is informed and believes and thereon alleges that Defendant
 6   WORLDWIDE EXPRESS OPERATIONS, LLC is and at all relevant times was a
 7   Texas corporation in good standing and licensed motor carrier with a principal
 8   place of business in this judicial district.
 9           3.       The claim alleged herein is for damage to cargo under the Carmack
10   Amendment to the Interstate Commerce Act, 49 U.S.C. § 14706. This Court has
11   jurisdiction over this claim pursuant to 28 U.S.C. §§ 1331 and 1337. Venue is
12   proper in this district under 28 U.S.C. § 1391(b) because substantial part of the
13   events or omissions giving rise to the claim occurred int his district and/ or a
14   substantial part of property that is the subject of the action is situated in this district.
15           4.       On or before July 2, 2018, Defendant agreed to transport Lab
16   Equipment (the “Cargo”) from Deibel Laboratories, 7120 N Ridgeway Avenue,
17   Lincolnwood, Illinois 60712 to 350 Encinal Street, Unit 100, Santa Cruz, California
18   95060.
19           5.       On July 2, 2018, Defendant received the Cargo in good order and
20   condition and proceeded to transport the Cargo in interstate commerce, pursuant to
21   Bill of Lading No. 103950556. Defendant had agreed to deliver the Cargo in the
22   same good order and condition as received at destination to the party entitled to the
23   Cargo pursuant to the Bill of Lading.
24           6.       On July 3, 2018, the Cargo was delivered to 350 Encinal Street, Unit
25   100, Santa Cruz, California 95060.
26           7.       After review of the Cargo and during installation, it was determined
27   that there was damage to the Cargo that was sustained during shipment.
28           8.       The damage included physical dents and bends which damaged the

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                                              COMPLAINT FOR DAMAGES
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 1   internal components. A main communication cable was disconnected from the
 2   smart card. Also, during troubleshooting, it was determined that both vaccum
 3   gauges and pump power board needed to be replaced as a result of the damage
 4   sustained.          Further       troubleshooting        revealed   multiple   electronic   boards
 5   malfunctions, including the main board 1 and 2 and filament board.
 6           9.       On July 23, 2018, Plaintiff timely submitted a claim in writing to
 7   Defendant, to which Defendant did not respond until June 4, 2019, at which time
 8   the claim was denied.
 9           10.      Plaintiff therefore seeks damages in the amount of $83,938.96, no part
10   of which has been paid, despite repeated demands of Defendant.
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13           WHEREFORE, Plaintiff prays as follows:
14           1.       For judgment in the amount of $83,938.96;
15           2.       For prejudgment interest thereon;
16           3.       For Plaintiff’s costs of suit herein;
17           4.       For Plaintiff’s attorney’s fees as permitted by the contract between the
18                    parties; and
19           5.       For such other and further relief as this Court may deem just and
20                    proper.
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22   Dated: May 13, 2020                                 CLARK HILL LLP
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24
                                                   By:    /s/Bradford G. Hughes
25                                                                   Bradford G. Hughes
26                                                       Attorneys for Plaintiff DEIBEL
                                                         LABORATORIES OF ILLINOIS, INC.
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                                       COMPLAINT FOR DECLARATORY RELIEF
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